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       Thread (10218896348831456)
                     Current 2022-01-15 05:18:03 UTC
                 Participants                        (Facebook: 100000465727974)
                              Cari Bedtka (Facebook: 1584572981)


                       Author                           (Facebook: 100000465727974)
                         Sent 2021-06-28 03:30:06 UTC
                        Body Hey for what irs worth im am sorry about the dhs shit girl but u
                              have to understand how much the few family members im close to
                              mean to me..and thank God that story was bullshit ..now on to
                              what im texting about is u told me u ha e a way I can pass every
                              u.a I need help cuz Ross wants to let me go early and I had a dirty
                              one last visit with him I ha e to pass to get off and no way will I do
                              baking soda ever again that was all bad fr

                       Author                        (Facebook: 100000465727974)
                         Sent 2021-06-28 03:30:16 UTC
                        Body Help a bitch out please

                       Author Cari Bedtka (Facebook: 1584572981)
                         Sent 2021-06-29 13:01:47 UTC
                        Body Sorry        I was passed out for 2 days... and I accept ur apology. I
                              just hope u guys would believe that id never ever call dhs on
                              anyone ever. U don't play with someone's kids ya kno. I could
                              never be that low. But anyways yea to pass a ua u need to take a
                              little shooter bottle and obviously have it filled with clean pee... but
                              where the lid would go u tape/glue a piece of tin foil over the
                              opening. Stick it up ur vagina. Now right before u go in the
                              building u gotta prick the tin foil with ur finger nail.. and squeeze ur
                              muscles as tight as u can. Ur gonna have to practice a bit til u get
                              it right.

                       Author Cari Bedtka (Facebook: 1584572981)
                         Sent 2021-06-29 13:03:43 UTC
                        Body Itd be easier for me to show u how to make the bottle up in
                              person.. u gotta use electrical tape to hold the foil in place over the
                              opening

                       Author                       (Facebook: 100000465727974)             Government
                                                                                              Exhibit
                         Sent 2021-06-29 15:33:51 UTC
                                                                                                 2
                        Body No problem when u free i go on the 30th                             Case
                                                                                             23-CR-01009




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                     Author
                                                    (Facebook: 100000465727974)
                       Sent 2021-07-02 16:37:16 UTC
                       Body Hey girl u have anytime later to hang for a bit Ross is not happy
                            and I need help I have to pass

                     Author Cari Bedtka (Facebook: 1584572981)
                       Sent 2021-07-02 16:39:17 UTC
                      Body Yea I can anytime after 445pm. Just let me kno. I could have u stop
                            by my house n ill show u

                     Author DeeAnn Mcclain Carner (Facebook: 100000465727974)
                       Sent 2021-07-02 16:46:13 UTC
                      Body Sweet thanks                stole my car and total it in savanna so I
                            am trying to get that figured out but I'm def gonna see today ill get
                            goodies for us from Thomas to

                     Author Cari Bedtka (Facebook: 1584572981)
                       Sent 2021-07-02 16:47:51 UTC
                      Body Ok cool. Thanks. Just let me kno




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                     Author Cari Bedtka (Facebook: 1584572981)
                       Sent 2021-05-27 15:44:00 UTC
                      Body U don't happen to have clean pee I could buy from u do u

                     Author Cari Bedtka (Facebook: 1584572981)
                       Sent 2021-05-27 15:44:12 UTC
                      Body Idk if u smoke weed or not

                     Author                          (Facebook: 100000058324473)
                       Sent 2021-05-27 15:44:52 UTC
                      Body Lol nah I don't.. Girl im not selling my pee.. I got you.. ESP if it
                            keeps u from going to prison.

                     Author Cari Bedtka (Facebook: 1584572981)
                       Sent 2021-05-27 15:45:57 UTC
                      Body Lol ok so ud be willing to hook me up with some for my future ua. I
                            got enough for today but then my stash is out n I'm on the color
                            system so I get randoms

                     Author Cari Bedtka (Facebook: 1584572981)


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                       Sent
                            2021-05-27 15:46:25 UTC
                       Body And I can't give up the damn weed in my life

                     Author                      (Facebook: 100000058324473)
                       Sent 2021-05-27 15:46:33 UTC
                      Body Ahh I see.. Yeah lmk.

                     Author Cari Bedtka (Facebook: 1584572981)
                       Sent 2021-05-27 15:46:52 UTC
                      Body Ok thank u sooo soo much. I'll let u kno for sure

                     Author Cari Bedtka (Facebook: 1584572981)
                       Sent 2021-05-27 15:47:23 UTC
                      Body I'll throw u 10 bucks for it anyways for helping me. I appreciate it
                            so much

                     Author                      (Facebook: 100000058324473)
                       Sent 2021-05-27 15:47:31 UTC
                      Body Ok..

                     Author                       (Facebook: 100000058324473)
                       Sent 2021-05-27 15:47:43 UTC
                      Body Im not worried about the money.. All good

                     Author Cari Bedtka (Facebook: 1584572981)
                       Sent 2021-05-27 15:47:43 UTC
                      Body Ur awesome

                     Author Cari Bedtka (Facebook: 1584572981)
                       Sent 2021-05-27 15:48:00 UTC
                      Body Ok ill be for sure in touch

                     Author                         (Facebook: 100000058324473)
                       Sent 2021-05-27 15:48:38 UTC
                      Body Okay sounds good.. Pls keep between us tho cause others that
                            have asked.. I've always said no.

                     Author Cari Bedtka (Facebook: 1584572981)
                       Sent 2021-05-27 15:48:52 UTC
                      Body Of course..my lips r sealed

                     Author Cari Bedtka (Facebook: 1584572981)
                       Sent 2021-05-27 15:48:59 UTC
                      Body U got my word

                     Author                      (Facebook: 100000058324473)
                       Sent 2021-05-27 15:49:11 UTC
                      Body Its sad how many ppl want my pee.. Never imagined that one ��

                     Author Cari Bedtka (Facebook: 1584572981)
                       Sent 2021-05-27 15:49:22 UTC
                      Body Lol no doubt

                     Author Cari Bedtka (Facebook: 1584572981)
                       Sent 2021-05-27 15:49:32 UTC
                      Body Craziness... lol




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                     Author
                            Cari Bedtka (Facebook: 1584572981)
                       Sent 2021-05-03 22:28:26 UTC
                       Body Hey u.interested in any black tar h... its in liquid form and u gotta
                            sniff it.. its pretty darnn good.




                     Author Cari Bedtka (Facebook: 1584572981)
                       Sent 2021-05-16 20:53:23 UTC
                      Body Do u got some pee i get from ya
                             I'll throw u 10 bucks for it

                     Author Cari Bedtka (Facebook: 1584572981)
                       Sent 2021-05-16 20:56:46 UTC
                      Body Opp disregard the pee message, my mom got me sum clean pee.
                            Lol so I'm set for now. But ill be calling u in the future for sum if
                            that's ok

                     Author Cari Bedtka (Facebook: 1584572981)
                       Sent 2021-05-16 21:24:12 UTC
                      Body Ok I'm sorry but I take that back, my moms friends boyfriend is
                            freaking out about getting the clean pee from their kid.. is there
                            anyway I can get sum from you then. I could come get it around
                            930pm. That'll give u plenty of time to collect it.. but just let me
                            know for sure if I can come around that time

                     Author Cari Bedtka (Facebook: 1584572981)
                       Sent 2021-05-27 13:37:06 UTC
                      Body Hey do u think its possible to get some clean pee from
                            ya...sometim3 soon .. and of course I'll pay u for it




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